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9
10                          UNITED STATES DISTRICT COURT
11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,               ED CR No. 20-00603-JAK

13             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             JEANETTE BERNARDETTE PAREDEZ
14                   v.

15   JEANETTE BERNARDETTE PAREDEZ,

16             Defendant.

17

18             This constitutes the plea agreement between JEANETTE
19   BERNARDETTE PAREDEZ (“defendant”) and the United States Attorney’s
20   Office for the Central District of California (the “USAO”) in the
21   above-captioned case.     This agreement is limited to the USAO and
22   cannot bind any other federal, state, local, or foreign prosecuting,
23   enforcement, administrative, or regulatory authorities.
24                             DEFENDANT’S OBLIGATIONS
25             Defendant agrees to:
26             a.    At the earliest opportunity requested by the USAO and
27   provided by the Court, appear and plead guilty to counts 5 and 11 of
28   the indictment in United States v. Jeanette Bernardette Paredez, ED
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1    CR No. 20-00603-JAK, which charge defendant with mail fraud, in

2    violation of 18 U.S.C. § 1341, 2(b), and making and subscribing to a

3    false income tax return, in violation of 26 U.S.C. § 7206(1), 2(b).

4              b.    Not contest facts agreed to in this agreement.

5              c.    Abide by all agreements regarding sentencing contained

6    in this agreement.

7              d.    Appear for all court appearances, surrender as ordered

8    for service of sentence, obey all conditions of any bond, and obey

9    any other ongoing court order in this matter.
10             e.    Agree that all court appearances, including her change
11   of plea hearing and sentencing hearing, may proceed by video-
12   teleconference (“VTC”) or telephone, if VTC is not reasonably
13   available, so long as such appearances are authorized by Order of the
14   Chief Judge 20-186 or another order, rule, or statute.           Defendant
15   understands that, under the Constitution, the United States Code, the
16   Federal Rules of Criminal Procedure (including Rules 11, 32, and 43),
17   she may have the right to be physically present at these hearings.
18   Defendant understands that right and, after consulting with counsel,

19   voluntarily agrees to waive it and to proceed remotely. Defense

20   counsel also joins in this consent, agreement, and waiver.

21   Specifically, this agreement includes, but is not limited to, the

22   following:

23                   i.    Defendant consents under Section 15002(b) of the

24   CARES Act to proceed with her change of plea hearing by VTC or

25   telephone, if VTC is not reasonably available.

26                   ii.   Defendant consents under Section 15002(b) of the

27   CARES Act to proceed with her sentencing hearing by VTC or telephone,

28   if VTC is not reasonably available.

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1                    iii. Defendant consents under 18 U.S.C. § 3148 and

2    Section 15002(b) of the CARES Act to proceed with any hearing

3    regarding alleged violations of the conditions of pretrial release by

4    VTC or telephone, if VTC is not reasonably available.

5              f.    Not commit any crime or any act constituting

6    obstruction of justice; however, offenses that would be excluded for

7    sentencing purposes under United States Sentencing Guidelines

8    (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not within the

9    scope of this agreement.
10             g.    Be truthful at all times with the United States
11   Probation and Pretrial Services Office and the Court.
12             h.    Pay the applicable special assessment at or before the
13   time of sentencing unless defendant has demonstrated a lack of
14   ability to pay such assessments.
15             i.    At or before the time of sentencing, satisfy any and
16   all restitution/fine obligations based on ability to pay by
17   delivering a certified check or money order to the Fiscal Clerk of
18   the Court in the amount of $1,105,513.99, to be held until the date

19   of sentencing and, thereafter, applied to satisfy defendant’s

20   restitution/fine balance.      Payments may be made to the Clerk, United

21   States District Court, Fiscal Department, 255 East Temple Street,

22   11th Floor, Los Angeles, California 90012.

23             j.    Ability to pay shall be assessed based on the

24   Financial Disclosure Statement, referenced below, and all other

25   relevant information relating to ability to pay.

26             k.    Defendant agrees that any and all restitution/fine

27   obligations ordered by the Court will be due in full and immediately.

28   The government is not precluded from pursuing, in excess of any

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1    payment schedule set by the Court, any and all available remedies by

2    which to satisfy defendant’s payment of the full financial

3    obligation, including referral to the Treasury Offset Program.

4              l.    Complete the Financial Disclosure Statement on a form

5    provided by the USAO and, within 30 days of defendant’s entry of a

6    guilty plea, deliver the signed and dated statement, along with all

7    of the documents requested therein, to the USAO by either email at

8    usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

9    Litigation Section at 300 N. Los Angeles St., Suite 7516, Los
10   Angeles, CA 90012.
11             m.    Authorize the USAO to obtain a credit report upon
12   returning a signed copy of this plea agreement.
13             n.    Consent to the USAO inspecting and copying all of
14   defendant’s financial documents and financial information held by the
15   United States Probation and Pretrial Services Office.
16             o.    Not seek the discharge of any restitution obligation,
17   in whole or in part, in any present or future bankruptcy proceeding.
18             p.    Agree to and not oppose the imposition of a three-year

19   term of supervised release.

20             Defendant admits that defendant received $807,741.80 of

21   unreported income for the calendar years 2013 through 2019.

22   Defendant agrees that:

23             a.    Defendant will file, prior to the time of sentencing,

24   amended returns for the years subject to the above admissions,

25   correctly reporting unreported income; will, if requested to do so by

26   the Internal Revenue Service, provide the Internal Revenue Service

27   with information regarding the years covered by the returns; will pay

28   to the Fiscal Clerk of the Court at or before sentencing all

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1    additional taxes and all penalties and interest assessed by the

2    Internal Revenue Service on the basis of the returns; and will

3    promptly pay to the Fiscal Clerk of the Court all additional taxes

4    and all penalties and interest thereafter determined by the Internal

5    Revenue Service to be owing as a result of any computational

6    error(s).    Payments may be made to the Clerk, United States District

7    Court, Fiscal Department, 255 East Temple Street, Room 1178, Los

8    Angeles, California 90012.

9                b.   Nothing in this agreement forecloses or limits the
10   ability of the Internal Revenue Service to examine and make
11   adjustments to defendant’s returns after they are filed.
12               c.   Defendant will not, after filing the returns, file any
13   claim for refund of taxes, penalties, or interest for amounts
14   attributable to the returns filed in connection with this plea
15   agreement.
16               d.   Defendant is liable for the fraud penalty imposed by
17   the Internal Revenue Code, 26 U.S.C. § 6663, on the understatements
18   of tax liability for 2013 through 2019.

19               e.   Defendant gives up any and all objections that could

20   be asserted to the Examination Division of the Internal Revenue

21   Service receiving materials or information obtained during the

22   criminal investigation of this matter, including materials and

23   information obtained through grand jury subpoenas.

24               f.   Defendant will sign closing agreements with the

25   Internal Revenue Service contemporaneously with the signing of this

26   plea agreement, permitting the Internal Revenue Service to assess and

27   collect the total sum of $180,027 for the tax years 2013 through

28   2019, which comprises the tax liabilities, as well as assess and

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1    collect the civil fraud penalty for each year and statutory interest,

2    on the tax liabilities, as provided by law.

3                               THE USAO’S OBLIGATIONS

4                The USAO agrees to:

5                a.   Not contest facts agreed to in this agreement.

6                b.   Abide by all agreements regarding sentencing contained

7    in this agreement.

8                c.   At the time of sentencing, move to dismiss the

9    remaining counts of the indictment as against defendant.           Defendant
10   agrees, however, that at the time of sentencing the Court may
11   consider any dismissed charges in determining the applicable
12   Sentencing Guidelines range, the propriety and extent of any
13   departure from that range, and the sentence to be imposed.
14               d.   At the time of sentencing, provided that defendant
15   demonstrates an acceptance of responsibility for the offenses up to
16   and including the time of sentencing, recommend a two-level reduction
17   in the applicable Sentencing Guidelines offense level, pursuant to
18   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

19   additional one-level reduction if available under that section.

20               e.   Recommend that defendant be sentenced to a term of

21   imprisonment no higher than the low end of the applicable Sentencing

22   Guidelines range, provided that the offense level used by the Court

23   to determine that range is 16 or higher and provided that the Court

24   does not depart downward in offense level or criminal history

25   category.    For purposes of this agreement, the low end of the

26   Sentencing Guidelines range is that defined by the Sentencing Table

27   in U.S.S.G. Chapter 5, Part A.

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1              f.    Should the Court sentence defendant to a term of

2    imprisonment, recommend that defendant not be required to self-

3    surrender to serve her sentence until on or after April 1, 2021,

4    unless defendant violates the conditions of her bond.

5              Because the justice system is facing an unprecedented

6    crisis through the backlog of cases, the parties agree that the

7    defendant is entitled to a two-level variance as recognition of

8    defendant’s early acceptance of responsibility, which will lessen the

9    burden on the court system by: (1) waiving any right to presence and
10   pleading guilty at the earliest opportunity by VTC (or telephone, if
11   VTC is not reasonably available); (2) waiving any right to presence
12   and agreeing to be sentenced by VTC (or telephone, if VTC is not
13   reasonably available) should the Central District of California’s
14   General Order allow for it; (3) agreeing to appear at all other times
15   by VTC or telephone; and (4) waiving most appellate rights.
16

17                              NATURE OF THE OFFENSES

18             Defendant understands that for defendant to be guilty of

19   the crime charged in count 5, that is, mail fraud, in violation of 18

20   U.S.C. § 1341, the following must be true:

21             a.    Defendant knowingly participated in, devised, or

22   intended to devise a scheme or plan to defraud, or a scheme or plan

23   for obtaining money or property by means of false or fraudulent

24   pretenses, representations, or promises;

25             b.    The statements made as part of the scheme were

26   material; that is, they had a natural tendency to influence, or were

27   capable of influencing, a person to part with money or property;

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1              c.    Defendant acted with the intent to defraud; that is,

2    the intent to deceive and cheat; and

3              d.    Defendant used, or caused to be used, the mails to

4    carry out or attempt to carry out an essential part of the scheme.

5              Defendant understands that for defendant to be guilty of

6    the crime charged in counts 11, that is, making and subscribing to a

7    false income tax return, in violation of 26 U.S.C. § 7206(1), the

8    following must be true:

9              a.    Defendant signed and filed a tax return that she knew
10   contained false information as to a material matter;
11             b.    The return contained a written declaration that it was
12   being signed subject to the penalties of perjury; and
13             c.    In filing the false tax return, defendant acted
14   willfully.
15                            PENALTIES AND RESTITUTION

16             Defendant understands that the statutory maximum sentence

17   that the Court can impose for a violation of 18 U.S.C. § 1341 is: 30

18   years’ imprisonment; a three-year period of supervised release; a

19   fine of $250,000 or twice the gross gain or gross loss resulting from

20   the offense, whichever is greatest; and a mandatory special

21   assessment of $100.

22             Defendant understands that the statutory maximum sentence

23   that the Court can impose for a violation of 26 U.S.C. § 7206(1) is:

24   three years’ imprisonment, a one-year period of supervised release; a

25   fine of $100,000; and a mandatory special assessment of $100.

26             Defendant understands, therefore, that the total maximum

27   sentence for all offenses to which defendant is pleading guilty is:

28   23 years’ imprisonment, a three-year period of supervised release; a

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1    fine of $250,000 or twice the gross gain or gross loss resulting from

2    the offense charged in count 5, whichever is greatest, plus a fine of

3    $100,000 for the offense charged in count 11; and a mandatory special

4    assessment of $200.

5              Defendant understands that defendant will be required to

6    pay full restitution to the victims of the offenses to which

7    defendant is pleading guilty.      Defendant agrees that, in return for

8    the USAO’s compliance with its obligations under this agreement, the

9    Court may order restitution to persons other than the victims of the
10   offenses to which defendant is pleading guilty and in amounts greater
11   than those alleged in the counts to which defendant is pleading
12   guilty.   In particular, defendant agrees that the Court may order
13   restitution to any victim of any of the following for any losses
14   suffered by that victim as a result: (a) any relevant conduct, as
15   defined in U.S.S.G. § 1B1.3, in connection with the offenses to which
16   defendant is pleading guilty and (b) any counts dismissed pursuant to
17   this agreement as well as all relevant conduct, as defined in
18   U.S.S.G. § 1B1.3, in connection with those counts.          The parties

19   currently believe that the applicable amount of restitution due to

20   Cal Poly Pomona Foundation, Inc. is approximately $925,486.99, but

21   recognize and agree that this amount could change based on facts that

22   come to the attention of the parties prior to sentencing.

23             Defendant understands and agrees that the Court: (a) may

24   order defendant to pay restitution in the form of any additional

25   taxes, interest, and penalties that defendant owes to the United

26   States based upon counts 6 and 11; and (b) must order defendant to

27   pay the costs of prosecution, which may be in addition to the

28   statutory maximum fine stated above.

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1               Defendant understands that supervised release is a period

2    of time following imprisonment during which defendant will be subject

3    to various restrictions and requirements.         Defendant understands that

4    if defendant violates one or more of the conditions of any supervised

5    release imposed, defendant may be returned to prison for all or part

6    of the term of supervised release authorized by statute for the

7    offense that resulted in the term of supervised release, which could

8    result in defendant serving a total term of imprisonment greater than

9    the statutory maximum stated above.
10              Defendant understands that, by pleading guilty, defendant

11   may be giving up valuable government benefits and valuable civic

12   rights, such as the right to vote, the right to possess a firearm,

13   the right to hold office, and the right to serve on a jury.

14   Defendant understands that she is pleading guilty to a felony and

15   that it is a federal crime for a convicted felon to possess a firearm

16   or ammunition.    Defendant understands that the conviction in this

17   case may also subject defendant to various other collateral

18   consequences, including but not limited to revocation of probation,

19   parole, or supervised release in another case and suspension or

20   revocation of a professional license.        Defendant understands that

21   unanticipated collateral consequences will not serve as grounds to

22   withdraw defendant’s guilty plea.

23              Defendant and her counsel have discussed the fact that, and

24   defendant understands that, if defendant is not a United States

25   citizen, the convictions in this case makes it practically inevitable

26   and a virtual certainty that defendant will be removed or deported

27   from the United States.      Defendant may also be denied United States

28   citizenship and admission to the United States in the future.

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1    Defendant understands that while there may be arguments that

2    defendant can raise in immigration proceedings to avoid or delay

3    removal, removal is presumptively mandatory and a virtual certainty

4    in this case.    Defendant further understands that removal and

5    immigration consequences are the subject of a separate proceeding and

6    that no one, including her attorney or the Court, can predict to an

7    absolute certainty the effect of her conviction on her immigration

8    status.   Defendant nevertheless affirms that she wants to plead

9    guilty regardless of any immigration consequences that her pleas may
10   entail, even if the consequence is automatic removal from the United
11   States.
12                                   FACTUAL BASIS

13              Defendant admits that defendant is, in fact, guilty of the

14   offenses to which defendant is agreeing to plead guilty.            Defendant

15   and the USAO agree to the statement of facts provided below and agree

16   that this statement of facts is sufficient to support pleas of guilty

17   to the charges described in this agreement and to establish the

18   Sentencing Guidelines factors set forth in paragraph 18 below but is

19   not meant to be a complete recitation of all facts relevant to the

20   underlying criminal conduct or all facts known to either party that

21   relate to that conduct.

22                                    Introduction

23        From approximately 2000 to February 2020, defendant was employed

24   by the Cal Poly Pomona Foundation, Inc. (“CPPF”) in Los Angeles

25   County.   Defendant served as an accounting specialist for the Kellogg

26   West Conference Center and Hotel (“Kellogg West”), a facility that

27   CPPF owned and used for conventions and events, also in Los Angeles

28   County.   Defendant’s responsibilities as an accounting specialist

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1    included receiving invoices from Kellogg West vendors, verifying the

2    invoices, and authorizing payment of the invoices.           Defendant was

3    then responsible for ensuring that the invoices were entered into the

4    CPPF processing system that generated payments for those invoices.

5                                  Scheme to Defraud

6         Beginning in July 2010 and continuing through February 2020, in

7    Los Angeles County, defendant, knowingly and with intent to defraud,

8    devised, participated in, and executed a scheme to defraud CPPF as to

9    material matters, and to obtain money from CPPF, by means of
10   materially false and fraudulent pretenses, representations, and
11   promises, and the concealment of material facts.
12        The fraudulent scheme operated and was carried out, in
13   substance, in the following manner:
14           •   Defendant entered, or caused to be entered, her mother,
15   A.D., into the CPPF processing system as a Kellogg West vendor.
16   Defendant generated fraudulent invoices stating that A.D. had
17   performed services for Kellogg West, which was owned and operated by
18   CPPF, when, in fact, A.D. had not performed any such services for

19   either Kellogg West or CPPF.       Defendant authorized payments on those

20   fraudulent invoices and entered the invoices into the CPPF processing

21   system that generated payments on the invoices.          Defendant took hard

22   copies of the fraudulent invoices intended for payment to A.D. to the

23   CPPF Accounting Department.

24           •   In reliance on the fraudulent invoices, the CPPF Accounting
25   Department generated checks drawn from a Wells Fargo Bank checking

26   account (“CPPF Wells Fargo account”) and made payable to A.D.

27   (“fraudulent checks”).     Defendant picked up the fraudulent checks

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1    from the CPPF Accounting Department, or the CPPF Accounting

2    Department mailed the fraudulent checks to defendant at Kellogg West.

3              •   Defendant would then have the fraudulent checks mailed to
4    A.D.’s address in Rowland Heights, California, where she would pick

5    them up.      Defendant forged A.D.’s signature to endorse the fraudulent

6    checks.       Defendant deposited the fraudulent checks with the forged

7    endorsements into a joint JPMorgan Chase Bank, N.A. checking account,

8    ending in 9900 and held by defendant and A.D. (“Chase Bank Account

9    9900”).
10             •   Defendant used the funds deposited in Chase Bank Account
11   9900 for her own mortgage payments, credit card payments, cash ATM
12   withdrawals, and personal purchases.
13        As a result of this scheme, checks totaling approximately
14   $925,486.99 were deposited in Chase Bank Account 9900.
15        On or about January 15, 2016, defendant mailed or caused the
16   mailing of a check in the amount of $2,874.55, made payable to A.D.,
17   and drawn from the CPPF Wells Fargo account.
18        On or about January 26, 2017, defendant mailed or caused the

19   mailing of a check in the amount of $2,897.03, made payable to A.D.,

20   and drawn from the CPPF Wells Fargo account.

21        On or about January 16, 2018, defendant mailed or caused the

22   mailing of a check in the amount of $2,997.81, made payable to A.D.,

23   and drawn from the CPPF Wells Fargo account.

24        On or about January 11, 2019, defendant mailed or caused the

25   mailing of a check in the amount of $4,998.55, made payable to A.D.,

26   and drawn from the CPPF Wells Fargo account.

27

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1           On or about January 22, 2020, defendant mailed or caused the

2    mailing of a check in the amount of $4,998.99, made payable to A.D.,

3    and drawn from the CPPF Wells Fargo account.

4             Personal Income Tax Returns for Years 2013 Through 2019

5           In addition, in San Bernardino County, defendant willfully made

6    and subscribed to materially false United States Individual Income

7    Tax Returns, using either Form 1040 or 1040A (the “tax returns”), for

8    calendar years 2013 through 2019, which defendant verified by written

9    declarations, stated that the declarations were made under penalty of
10   perjury, and filed and caused to be filed the tax returns with the
11   Internal Revenue Service.      In making, subscribing, and filing the tax
12   returns, defendant did not believe them to be true and correct as to
13   every material matter contained therein.         Specifically, defendant
14   falsely claimed in the tax returns, which she filed jointly with her
15   husband, that her total income received during the indicated calendar
16   years was the amount indicated below, when, as defendant then knew,
17   her total income received during the indicated calendar years was
18   substantially more than the amount of total income she claimed, as

19   indicated below:

20   Year                    Total Income      Total Income        Unreported
                             Reported          Received            Income
21
     2013                    $33,181.00        $93,787.62          $60,606.62
22   (tax return filed       (reported in
     on 2/7/2014)            Form 1040A,
23                           line ??)
     2014                    $34,428.00        $100,880.12         $66,452.12
24   (tax return filed       (reported in
     on 2/6/2015)            Form 1040A,
25                           line 15)
     2015                    $81,331.00        $161,818.51         $80,487.51
26   (tax return filed       (reported in
     on 2/12/2016)           Form 1040A,
27                           line 1)

28

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1    2016                    $83,788.00        $185,554.70         $101,766.70
     (tax return filed       (reported in
2    on 2/10/2017)           Form 1040,
                             line 22)
3    2017                    $92,383.00        $212,715.65         $120,332.65
     (tax return filed       (reported in
4    on 2/23/2018)           Form 1040,
                             line 22)
5    2018                    $90,366.00        $243,603.12         $153,237.12
     (tax return filed       (reported in
6    on 2/21/2019)           Form 1040,
                             line 6)
7    2019                    $99,054.00        $323,913.08         $224,859.08
     (tax return filed       (reported in
8    on 2/21/2020)           Form 1040,
                             line 7(b))
9    Total                   514,531.00        $1,322,272.80       $807,741.80
10         In total, defendant underreported her income by approximately
11   $807,741.80 on her returns, resulting in a tax loss of approximately
12   $180,027.
13                                 SENTENCING FACTORS
14               Defendant understands that in determining defendant’s
15   sentence the Court is required to calculate the applicable Sentencing
16   Guidelines range and to consider that range, possible departures
17   under the Sentencing Guidelines, and the other sentencing factors set
18   forth in 18 U.S.C. § 3553(a).       Defendant understands that the
19   Sentencing Guidelines are advisory only, that defendant cannot have
20   any expectation of receiving a sentence within the calculated
21   Sentencing Guidelines range, and that after considering the
22   Sentencing Guidelines and the other § 3553(a) factors, the Court will
23   be free to exercise its discretion to impose any sentence it finds
24   appropriate up to the maximum set by statute for the crimes of
25   conviction.
26   ///
27   ///
28   ///
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1               Defendant and the USAO agree to the following applicable

2    Sentencing Guidelines factors:

3       Base Offense Level:                      7       U.S.S.G. § 2B1.1(a)(1)

4       Loss exceeded $550,000                 +14   U.S.S.G. § 2B1.1(b)(1)(H)

5    Defendant and the USAO reserve the right to argue that additional

6    specific offense characteristics, adjustments, and departures under

7    the Sentencing Guidelines are appropriate.

8               Defendant understands that there is no agreement as to

9    defendant’s criminal history or criminal history category.
10              Defendant and the USAO reserve the right to argue for a

11   sentence outside the sentencing range established by the Sentencing

12   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

13   (a)(2), (a)(3), (a)(6), and (a)(7).

14                         WAIVER OF CONSTITUTIONAL RIGHTS

15              Defendant understands that by pleading guilty, defendant

16   gives up the following rights:

17              a.    The right to persist in a plea of not guilty.

18              b.    The right to a speedy and public trial by jury.

19              c.    The right to be represented by counsel -- and if

20   necessary have the Court appoint counsel -- at trial.           Defendant

21   understands, however, that, defendant retains the right to be

22   represented by counsel -- and if necessary have the Court appoint

23   counsel -- at every other stage of the proceeding.

24              d.    The right to be presumed innocent and to have the

25   burden of proof placed on the government to prove defendant guilty

26   beyond a reasonable doubt.

27              e.    The right to confront and cross-examine witnesses

28   against defendant.

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1               f.    The right to testify and to present evidence in

2    opposition to the charges, including the right to compel the

3    attendance of witnesses to testify.

4               g.    The right not to be compelled to testify, and, if

5    defendant chose not to testify or present evidence, to have that

6    choice not be used against defendant.

7               h.    Any and all rights to pursue any affirmative defenses,

8    Fourth Amendment or Fifth Amendment claims, and other pretrial

9    motions that have been filed or could be filed.
10              i.    Further, defendant knowingly and voluntarily waives
11   any rights and defenses defendant may have under the Excessive Fines
12   Clause of the Eight Amendment to the United States Constitution to
13   the forfeiture of property in this proceeding or any related civil
14   proceeding, special or other assessment, and any order of
15   restitution.
16                         WAIVER OF APPEAL OF CONVICTION

17              Defendant understands that, with the exception of an appeal

18   based on a claim that defendant’s guilty pleas were involuntary, by

19   pleading guilty defendant is waiving and giving up any right to

20   appeal defendant’s convictions on the offenses to which defendant is

21   pleading guilty.    Defendant understands that this waiver includes,

22   but is not limited to, arguments that the statute to which defendant

23   is pleading guilty is unconstitutional, and any and all claims that

24   the statement of facts provided herein is insufficient to support

25   defendant’s plea of guilty.

26                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

27              Defendant gives up the right to appeal all of the

28   following: (a) the procedures and calculations used to determine and

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1    impose any portion of the sentence; (b) the term of imprisonment

2    imposed by the Court, provided it is no more than the high end of the

3    Sentencing Guidelines range calculated by the Court; (c) the fine

4    imposed by the Court, provided it is within the statutory maximum;

5    (d) to the extent permitted by law, the constitutionality or legality

6    of defendant’s sentence, provided it is within the statutory maximum;

7    (e) the amount and terms of any restitution order, provided it

8    requires payment of no more than $1,105,513.99; (f) the term of

9    probation or supervised release imposed by the Court, provided it is
10   within the statutory maximum; and (g) any of the following conditions
11   of probation or supervised release imposed by the Court: the
12   conditions set forth in Amended General Order 20-04 of this Court;
13   the drug testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and
14   3583(d).
15              Defendant also gives up any right to bring a post-

16   conviction collateral attack on the convictions or sentence,

17   including any order of restitution, except a post-conviction

18   collateral attack based on a claim of ineffective assistance of

19   counsel or an explicitly retroactive change in the applicable

20   Sentencing Guidelines, sentencing statutes, or statutes of

21   conviction. Defendant understands that this waiver includes, but is

22   not limited to, arguments that the statutes to which defendant is

23   pleading guilty are unconstitutional, that newly discovered evidence

24   purportedly supports defendant’s innocence, and any and all claims

25   that the statement of facts provided herein is insufficient to

26   support defendant’s pleas of guilty.

27              The USAO agrees that, provided all portions of the sentence

28   are at or below the statutory maximum specified above, the USAO gives

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1    up its right to appeal any portion of the sentence, with the

2    exception that the USAO reserves the right to appeal the amount of

3    restitution ordered if that amount is less than $1,105,513.99.

4                        RESULT OF WITHDRAWAL OF GUILTY PLEA

5               Defendant agrees that if, after entering guilty pleas

6    pursuant to this agreement, defendant seeks to withdraw and succeeds

7    in withdrawing defendant’s guilty pleas on any basis other than a

8    claim and finding that entry into this plea agreement was

9    involuntary, then (a) the USAO will be relieved of all of its
10   obligations under this agreement; and (b) should the USAO choose to
11   pursue any charge that was either dismissed or not filed as a result
12   of this agreement, then (i) any applicable statute of limitations
13   will be tolled between the date of defendant’s signing of this
14   agreement and the filing commencing any such action; and
15   (ii) defendant waives and gives up all defenses based on the statute
16   of limitations, any claim of pre-indictment delay, or any speedy
17   trial claim with respect to any such action, except to the extent
18   that such defenses existed as of the date of defendant’s signing this

19   agreement.

20                           EFFECTIVE DATE OF AGREEMENT

21              This agreement is effective upon signature and execution of

22   all required certifications by defendant, defendant’s counsel, and an

23   Assistant United States Attorney.

24                                BREACH OF AGREEMENT

25              Defendant agrees that if defendant, at any time after the

26   signature of this agreement and execution of all required

27   certifications by defendant, defendant’s counsel, and an Assistant

28   United States Attorney, knowingly violates or fails to perform any of

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1    defendant’s obligations under this agreement (“a breach”), the USAO

2    may declare this agreement breached.        All of defendant’s obligations

3    are material, a single breach of this agreement is sufficient for the

4    USAO to declare a breach, and defendant shall not be deemed to have

5    cured a breach without the express agreement of the USAO in writing.

6    If the USAO declares this agreement breached, and the Court finds

7    such a breach to have occurred, then: (a) if defendant has previously

8    entered guilty pleas pursuant to this agreement, defendant will not

9    be able to withdraw the guilty pleas, and (b) the USAO will be
10   relieved of all its obligations under this agreement.
11              Following the Court’s finding of a knowing breach of this

12   agreement by defendant, should the USAO choose to pursue any charge

13   that was either dismissed or not filed as a result of this agreement,

14   then:

15              a.    Defendant agrees that any applicable statute of

16   limitations is tolled between the date of defendant’s signing of this

17   agreement and the filing commencing any such action.

18              b.    Defendant waives and gives up all defenses based on

19   the statute of limitations, any claim of pre-indictment delay, or any

20   speedy trial claim with respect to any such action, except to the

21   extent that such defenses existed as of the date of defendant’s

22   signing this agreement.

23              c.    Defendant agrees that: (i) any statements made by

24   defendant, under oath, at the guilty plea hearing (if such a hearing

25   occurred prior to the breach); (ii) the agreed to factual basis

26   statement in this agreement; and (iii) any evidence derived from such

27   statements, shall be admissible against defendant in any such action

28   against defendant, and defendant waives and gives up any claim under

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1    the United States Constitution, any statute, Rule 410 of the Federal

2    Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

3    Procedure, or any other federal rule, that the statements or any

4    evidence derived from the statements should be suppressed or are

5    inadmissible.

6                      COURT AND UNITED STATES PROBATION AND

7                       PRETRIAL SERVICES OFFICE NOT PARTIES

8               Defendant understands that the Court and the United States

9    Probation and Pretrial Services Office are not parties to this
10   agreement and need not accept any of the USAO’s sentencing
11   recommendations or the parties’ agreements to facts or sentencing
12   factors.
13              Defendant understands that both defendant and the USAO are

14   free to: (a) supplement the facts by supplying relevant information

15   to the United States Probation and Pretrial Services Office and the

16   Court, (b) correct any and all factual misstatements relating to the

17   Court’s Sentencing Guidelines calculations and determination of

18   sentence, and (c) argue on appeal and collateral review that the

19   Court’s Sentencing Guidelines calculations and the sentence it

20   chooses to impose are not error, although each party agrees to

21   maintain its view that the calculations in paragraph 17 are

22   consistent with the facts of this case.         While this paragraph permits

23   both the USAO and defendant to submit full and complete factual

24   information to the United States Probation and Pretrial Services

25   Office and the Court, even if that factual information may be viewed

26   as inconsistent with the facts agreed to in this agreement, this

27   paragraph does not affect defendant’s and the USAO’s obligations not

28   to contest the facts agreed to in this agreement.

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1               Defendant understands that even if the Court ignores any

2    sentencing recommendation, finds facts or reaches conclusions

3    different from those agreed to, and/or imposes any sentence up to the

4    maximum established by statute, defendant cannot, for that reason,

5    withdraw defendant’s guilty plea, and defendant will remain bound to

6    fulfill all defendant’s obligations under this agreement.            Defendant

7    understands that no one -- not the prosecutor, defendant’s attorney,

8    or the Court -- can make a binding prediction or promise regarding

9    the sentence defendant will receive, except that it will be within
10   the statutory maximum.
11                             NO ADDITIONAL AGREEMENTS

12              Defendant understands that, except as set forth herein,

13   there are no promises, understandings, or agreements between the USAO

14   and defendant or defendant’s attorney, and that no additional

15   promise, understanding, or agreement may be entered into unless in a

16   writing signed by all parties or on the record in court.

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